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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

      Plaintiff,
                                                    Case No. 21-cv-12193
v.                                                  Hon. Matthew F. Leitman

ROBERT SAMUEL SHUMAKE, JR., et al.,

     Defendants.
__________________________________________________________________/

 ORDER (1) GRANTING PLAINTIFF’S MOTION TO COMPEL (ECF No.
  45); (2) GRANTING PLAINTIFF’S MOTION FOR LEAVE TO AMEND
   COMPLAINT (ECF No. 46); DENYING DEFENDANT’S MOTION TO
ENFORCE AUTOMATIC STAY AND IMPOSE SANCTIONS (ECF No. 57);
   AND (4) DENYING DEFENDANT’S MOTION TO ABATE OR STAY
                    PROCEEDINGS (ECF No. 60)

      On June 21, 2024, the Court held a motion hearing to address the motions

identified in the title of this Order above. As a result of that hearing, IT IS

HEREBY ORDERED as follows:

      1.     Plaintiff’s Motion to Compel is GRANTED for the reasons stated on

the record during the hearing. By not later than July 25, 2024, Defendant shall fully

respond to all of the interrogatories, requests to produce, and subpoenas that are

identified in the Motion to Compel and attached as exhibits to the Motion. By “fully

respond,” the Court means that Defendant shall provide complete answers to all




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interrogatories and shall produce all requested documents and all documents sought

by subpoena.

      2.     Plaintiff’s Motion to Amend is GRANTED for the reasons explained

on the record. Plaintiff may amend its Complaint for the sole purpose of changing

Defendant’s name to his new legal name. Defendant need not file a new Answer to

the Amended Complaint. As discussed on the record, Defendant’s prior Answer

shall remain operative. However, not more than 21 days after Plaintiff files the

Amended Complaint, Defendant shall file a notice on the docket stating whether he

denies that his legal name is as alleged in the Amended Complaint.

      3.     Defendant’s Motion to Enforce Automatic Stay is DENIED for the

reasons stated on the record and for the reasons stated in Plaintiff’s filings addressing

the automatic stay issue (ECF Nos. 50, 58, and 63).

      4.     Defendant’s Motion to Stay or Abate Proceedings is DENIED for the

reasons stated on the record and for the reasons stated in Plaintiff’s filings addressing

the automatic stay issue (ECF Nos. 50, 58, and 63).

      IT IS SO ORDERED.


                                         s/Matthew F. Leitman
                                         MATTHEW F. LEITMAN
                                         UNITED STATES DISTRICT JUDGE

Dated: June 24, 2024




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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on June 24, 2024, by electronic means and/or ordinary mail.

                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126




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